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1    McGREGOR W. SCOTT
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     Special Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2798
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7
8              IN THE UNITED STATES DISTRICT COURT FOR THE
9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )          CR No. S 08-0197 GEB
                                  )
12             Plaintiff,         )
                                  )
13        v.                      )
                                  )          STIPULATION AND [PROPOSED]
14                                )          ORDER CONTINUING STATUS
     MICHAEL CRAIG DENNIS         )          CONFERENCE
15                                )
               Defendant.         )
16   ____________________________ )
17
18        IT IS HEREBY stipulated between the United States of America
19   through its undersigned counsel, Leslie Monahan, Special
20   Assistant United States Attorney, together with the defendant and
21   his counsel, Alexandria Carl, that the status conference
22   currently scheduled for Friday, December 5, 2008, be vacated and
23   a new status conference be scheduled on Friday, January 16, 2009.
24        It is further stipulated and agreed between the parties that
25   the time under the Speedy Trial Act should be excluded from
26   today’s date to, January 16, 2009, under Local Code T4, Title 18,
27   United States Code, Section 3161 (h)(8)(B)(iv), to give the
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1    defendant time to review the discovery and to adequately prepare;
2    the parties are awaiting the results of further investigation.
3
     Dated: December 4, 2008                    Respectfully submitted,
4
                                                McGREGOR W. SCOTT
5                                               U.S. Attorney
6                                               /s/ Leslie Monahan
7                                               LESLIE MONAHAN
                                                Special Assistant U.S.Attorney
8
9    Dated: December 4, 2008                    /s/ Alexandria Carl
10                                              ALEXANDRIA CARL
                                                Attorney for MICHAEL DENNIS
11
12
13                                 [PROPOSED] ORDER
14
15        GOOD CAUSE APPEARING, the above requested calendaring
16   change, and stipulated exclusion of time pursuant to the Federal
17   Speedy Trial Act, are SO ORDERED.
18   Dated:    December 8, 2008
19
20                                    GARLAND E. BURRELL, JR.
21                                    United States District Judge

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